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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


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UNITED S ‘ATES OF AMERICA,
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       “.                                             Criminal No. 81-0306 (PLF)
         I                                     i
JOHN W. HbCKLEY, JR.                           1




                                             OPINION



             d
                 On March 30, 1981, John W. Hinckley, Jr. attempted to assassinate the ‘resident

of the Unite ~’ States, Ronald Reagan, in the driveway of the Washington Hilton Hotel. Se

     d th ,President, Presidential Press Secretary James Brady, Secret Service Ager Timothy
wounded

McCarthy, a,d Metropolitan Police Officer Thomas Delahanty, and Mr. Brady suffere

permanent b ain damage. By a 13-count indictment filed on August 24,1981, Mr. Hit kley was
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                                                                                  ates,

                                                                                           with

                 der, multiple assault charges and a weapons charge under the District of :ohtmbia



                                                                                           ? intent to

                                                                                           suffered

from a mentI,1 disease or defect that was responsible for his conduct on the day of the I .ootings,

and, on Jun 21,1982, a jury found him not guilty by reason of insanity on all counts ( ‘the
             ~.       I~-~--~-.,                                               m-b




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indictment. lrudge Barrington Parker thereupon committed Mr. Hinckley to St. Elizabeths

Hospital under D.C. Code 5 24-301, where he has remained to this day.’

             ~ Two years ago, this matter came before the Court on Mr. Hinckley’s pe ntim on for
             !
limited cond’tional release pursuant to DC. Code 3 24-501(k) and on the proposal by St.
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                  ospital that Mr. Hinckley be granted a limited conditional release pursuar d,tc1 D.C.

                   l(e). After an evident& hearing, at which all of the experts agreed that

                   lease was appropriate, the Court issued an Opinion and Order which den iI;dM r .

                  etition and granted in part and denied in part the proposal submitted by St

Elizabeths &pital. The Court granted Mr. Hinckley six local day visits within a 50-1                e radius

of the Hospi         (Phase I) and two local overnight visits (Phase II) both under the super       ion of

his parents, iut without Hospital accompaniment. The Court also imposed a series of                 ingent

                   the preparation for the visits, the visits themselves and the debriefing aft :!rlthe
                                                                                               1
                  1 accounts, these visits were entirely successful, Mr. Hinckley and his par ,enl :S


                    all the conditions imposed by the Court, and the visits were very therap d ut,ic.




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                 This opinion refers to both D.C. Code $5 24-301(e) and 301(k) and D.(              :ode
@ 24-501(e and 501(k). Section 501 is the current incarnation of the former Section                 1. The
historical pe itions for conditional release were filed under Section 301.
       2      Phase III of the Hospital’s Section 501(e) proposal two years ago was s iL
overnight 3 -hour visits on weekends at his parents’ home outside the Washington, D. .kL area.
The Court r:‘ected this proposal in large part because of a lack of specificity and a lacl do: f
planning wi4 respect to Phase III and because of a desire by the Court to have reports on the
success of Phase I and Phase II before determining whether, and under what condition S\&its
outside the Washington, D.C. area would be appropriate. See United States v. Bin&h xi,      , 292 F.
Supp. 2d 121,148 (D.D.C. 2003) (“-I”).

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                    Last year, this matter again came before the Court on Mr. Hinckley’s petition for

limited conditional release pursuant to D.C. Code 5 24-5010 and on the proposal by t.
                                                                                  Ei
Elizabeths qospital that Mr. Hinckley be granted a limited conditional release pursuan !to D.C.
                                                                                      t
Code 5 24-5pl(e). Mr. Hinckley’s Section 501(k) petition and the Hospital’s Section 501(e)

proposal each asked that Mr. Hinckley be allowed to have visits at his parents’ residence outside

the metropo ‘tan Washington., D.C. area, though differing in the specifics of the propos k d visits.
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The gove     ent, the Hospital, and the majority of testifying experts opposed Mr. Hint 4 ley’s
          mm
petition. Thb Hospital’s proposal for conditional release under Section 501(e) was opp sed by
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the govermn nt and the government’s expert witnesses. Based on the evidence and arguments
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presented to the Court, as well as the evidence presented at the 2003 hearing and the e Iltire record

in this case,       e Court denied Mr. Hinckley’s petition and rejected the Hospital’s proposal, citing

particular co cems with the relationship between Mr. Hinckley and his former girlfrie d, Leslie
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                                                                                 .1
DeVeau. de Court did, h owever, allow Mr. Hinckley continued Phase II local ovemi ht visits
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identical to        ose already successfully completed. See United States v. Hinckley, 346
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155 (D.D.C.~2004) (“Hincklev II”).

                     This matter is now before the Court on John W. Hinckley,

the terms of his conditional release pursuant to DC. Code 5 24-501(k)



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Elizabeths ‘ospital thatMr. Hinckley be granted an enlarged limited

to D.C. Code § 24-501(e). Mr. Hinckley’s Section 501(k) petition asks that he be allo

have a serie , of six conditional release visits at his parents’ residence outside the metr

Washington 1 D.C. area. Mr. Hinckley’s petition proposes that the first visit be for two
                                                                                _/I___^____*
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with an additional night added to each visit until the last of the six visits is of seven nights in

duration. He further requests that there be no more than three weeks between each visit. Mr.

Hinckley’s petition incorporates all the conditions set by the Court in its previous December

2003 and November 2004 orders, with any necessary modifications to accommodate the

expanded privileges and any other conditions that the Court deems fit to set, including Ibat the

Secret Servide notify local law enforcement of his presence in the area.

             ~ The Hospital opposes Mr. Hmckley’s Section 501(k) petition and has s 1mitted a

different proposal for expanded conditional release. Under the Hospital’s Section 501(1 )

proposal, Ml. Hinckley initially would be permitted three visits of three nights in durat‘on to his

parents’ home outside the metropolitan Washington, D.C. area. These visits would tak1 place on
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weekends, darn a Friday at 9:00 a.m. to Monday at 1:00 p.m. If deemed successful by              e
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treatment te ’   and the Hospital Forensic Review Board, Mr. Hinckley would be allowed
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additional ongoing visits of four nights in duration, starting on a Thursday at 9:00 a.m. to the

following M nday at 1:OO p.m. The proposal places no numerical limit on the number of visits
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Mr. Hinckle would be allowed. The Hospital further requests that there be at least a six week
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period betwien each visit to allow the Hospital opportunity for a full evaluation of each visit and

an oPPo          to plan for the next visit. The government opposes both Mr. Hinckley’s,petition
            ~.
and the Hospital’s proposal.

           ~ The Court held an evidentiaty hearing on the requested relief on September 19,20
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and 21,200$ Closing arguments were heard on September 27,2005. On September 49,2005,

the Court requested supplemental information from the Hospital which was submitted {n writing



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on October I4,2005. The government responded on October 21,2005, and Mr. Hinckley filed a

reply on 0~ :ipl ,er 26,2005. The Court notes that this year all of the testifying experts, including

the govenn       It’s experts, support some form of expanded conditional release for Mr.            nckley.

The majori       )f the experts, including one of the two government experts, supports the          lospital’s

501(e) proI      al. Based on the evidence and arguments presented to the Court, as well            ithe

evidence pr      :nted in the hearings of the past two years and the entire record in this ca .qe , and for

the reasons til;d follow, the Court denies Mr. Hinckley’s petition and grants the Hospit I          ‘S


proposal in $art and denies it in part.

                                                                                                         ‘\‘\
                                              I. BACKGROUND

                                             A. Legal Framework

                     D.C. Code 5 24-501(k) provides that a person in the custody of a menta         lospital

after being a+luitted ,by reason of insanity may seek his conditional or unconditional rc :(e,ase from

the custody          the hospital by tiling an appropriate motion with the court. D.,C. Code {      4-501(e)
                1;
provides tha the superintendent of the hospital on his own may at any time certify that             le

mental heal of the person has sufficiently improved such that he will not “in the reas dpable
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future be ds erous to himself or others” if conditionally released. D.C. Code 5 24-50 e);g
            +
Hough v. U ed States, 271 F.2d 458,461 (D.C. Cir. 1959) (for conditional release “tl COllTt
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must conch           that the individual has recovered sufficiently so that under the proposed

conditions ]         others] ‘such person will not in the reasonable future be dangerous to hi:     self or

others.“‘). :        :ither case, it is for the court to determine whether the person warrants CI   ditional

release and,   ‘If so, under what conditions. See D.C. Code $5 24-501(e), 501(k).
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                Whether the court is considering a patient’s petition or the superintendent’s

certificate, unless the request is uncontested or the outcome plain, the court must hold a hearing

to determine/ the present mental condition of the person and whether, if released, he will be a

danger to himself or others in the reasonable future. See D.C. Code $5 24-501(e), (k). /When the

matter comes before the court on a petition under D.C. Code 5 24-501(k), “the person Iseeking
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release] shal,i have the burden of proof,” and the court must find “by a preponderance 01 the

evidence” t+lat the person is entitled to conditional release. D.C. Code 5 24-501(k). T e statute
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does not m e clear who carries the burden of proof in a hospital-initiated release proposal. See
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D.C. Code 51501(e). Regardless of who bears the burden of proof or persuasion, the hjspital’s
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proposal under D.C. Code 5 24-501(e) should only be approved if the evidence shows that the
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proposed conditional release is appropriate under the standards set forth in the statute by a

preponder      e of the evidence. See United States v. Ecker, 543 F.2d 178, 188 (D.C. C~ir. 1976)

(districtco~, must make an “affumative finding that it is at least more probable than Tt” that

the patient ill not be violently dangerous in the future); DeVeau v. United States, 483iA.2d 307,
           4
3 10 (D.C. 1 84) (preponderance standard endorsed).3
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            1 In considering either a hospital-initiated or a patient-initiated request fo{
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conditional elease, the, court is obligated to make its own independent judicial deter&ration
            T patient’s dangerousness. See United States v. Ecker, 543 F.2d at 184. The
regarding the
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function of e court is to determine whether the facts as shown by the evidence offered “measure
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       3        For additional background on Mr. Hinckley’s history and previous release
requests as ’ ell as a further description of the legal framework, see United States v. Hmckle~,
           r” 2d 125,127-133 (D.D.C. 2003).
292 F. Supp,
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      up to the statutory standards for release. ” $J. at 185. In order to grant release, the court must

      determine t t the patient, under the proposed,conditions, “will not in the reasonable future be
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      dangerous t i himself or others.” Ho&v. United States, 271 F.2d at 461; see also United States
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      v. Ecker, 54’ F.2d at 187. Under this standard, the existence of “a substantial problemi~of danger
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      in the reasodable future provides an adequate basis for the continued detention and confmement

      of an insani        acquittee” who has committed a violent act. United States v. Ecker, 543 ~F.2d at
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      188. If, on t e other hand, the evidence shows by a preponderance of the evidence that the
                   I” be a danger under the proposed or other reasonable conditions of relea& then the
      patient will not

      court must         ant the petition for conditional release.“                                I
                 ” In receiving and considering the evidence, a court is not required to act@ the
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      opinion of any expert witness, or even the unanimous opinion of all the experts, but must

      consider all elevant evidence including “the patient’s hospital file, the court files and {ecords in
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      the case, an whatever illumination is provided by counsel.” United States v. Ecker, 543 F.2d at



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      184-85; sL so id. at 190 (“the issue of ‘dangerousness’ presents the district court with a

      difficult mixed question of law and fact, and the court is under no obligation to accept be

                                            of law”). The court must independently weigh the evidence and
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                                                  whether if released under appropriate conditions /be patient

                         e reasonable future be dangerous to himself or others. See id. at 187. Th~~court




                    The court may modify or expand upon the conditions proposed by the hospital,
      See D.C. C de 9 24:501(e) (conditional release “under such conditions as the court shall see
      fit”).
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must take ca/e, however, to base any denial of release on the evidence itself, and not substitute its

own opinio i for the evidence presented by the parties. See & at 185 and n.20.
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                                   B. Relationship with Leslie De Veau

                    The focus of last year’s hearing was on Mr. Hinckley’s 22-year relationimp with

his former girlfriend, Leslie DeVeau. The government argued strenuously that it was ny certain

how Mr. Hi ckley was handling the end of his romantic relationship with Ms. DeVeauiiand that

his potential1y adverse reaction was a major risk factor in a relapse of his menttal illnesies.

Furthermor         the lack of clarity in the ongoing friendship between Mr. Hinckley and &
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DeVeau, an the fact that Mr. Hinckley may not have been forthcoming regarding his { ontinuing
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friendship     ‘th Ms. DeVeau, were pointed to as matters of concern expressed by both of the
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government ‘S expert witnesses, Dr. Robert Phillips and Dr. Raymond Patterson. The Hospital’s
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failure to address the nature of the relationship and its impact on Mr. Hinckley’s mental state was
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also of cone rn to Dr. Philips and Dr. Patterson. See Hincklev II, 346 F. Supp.2d at l y-65,
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168-70. I n ” effort to address these concerns, the Hospital made contact with Ms. DeVeau

through her ttomey during the hearing. @. at 171-74.’ At a meeting between the treajment team
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and Ms. De eau, accompanied by her attorney, Ms. DeVeau discussed the nature of her

relationship  ith Mr. Hinckley and the change it had undergone, from a romantic rela jonship to
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friendship, 1,
            eginning around 2000. Id. at 172. Ms. DeVeau indicated at that time that jhe might
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        5      A few days, prior to the 2004 hearing, Ms. DeVeau had agreed to meet fith one of
Mr. Hinckle’ ‘s expert witnesses, but only in the presence of her attorney.


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            be open to becoming more involved in Mr. Hinckley’s therapeutic process and meeting with his

            treatment team, outside the presence of her attorney. Id.

                             The Court agreed with the government’s experts that the hasty, eleventll/l hour

            meetings with Ms. DeVeau in an effort to address the Court’s and the government’s e> erts

            concerns was not an appropriate method of evaluating Ms. DeVeau’s relationship witl dr.

            Hinckley, the impact it had on his mental state, the possibility of continued deceptiven   3s by Mr.

            Hinckley, orthe potential for dangerousness that the change in that relationship could     ,eate in

            him. &Hip II, 346 F. Supp.2d at 177, 179. In addition to noting the “circus-Ii1 tenor” of

            last year’s hiaring, the Court noted that the Hospital had done itself no favors in ignor g Mr.

            Hinckley’s rblationship with Ms. DeVeau until it became critical that it respond to the mcems
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            raised at the ihearing. Id. at 179.


                                         II. THE 2005 EVIDENTIARY HEARING

                         ~ At this year’s evident&y hearing, Mr. Hinckley called three witnesses: I) Dr.

            Sidney W. lj’nk
                        r s , a Ph.D. p,sychologist specializing in neuropsychiatric disorders who as been a

            member of Mr. Hinckley’s treatment team and his treating psychologist since 1999;

            (2) Dr. Rob rt Keisling, a psychiatrist and former Medial Director of the Forensic Inpi     ent
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            Service at .I CI,hn Howard Pavilion at St. Elizabeths Hospital, who was Mr. Hinckley’s t re ating

            psychiatrist from mid-1998 until September 1999; and (3) Dr. Paul Montalbano, Pretri.a1 Chief at

            the ForensiclServices Unit at John Howard Pavilion at St. Elizabeths Hospital, who haIS

            conducted s’ psychological risk analyses of Mr. Hinckley since 1999, most recently ir ti.July 2005
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            for the an u dated assessment to present to the Court at this year’s hearing. The gover


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called as wimesses: (1) Dr. Robert Phillips, a psychiatrist and former Director of Forensic

Services for khe State of Connecticut Department of Mental Health, who examined Mr.,Hmckley,

at the reque$ of the government in 2000,2003,2004 and 2005; and (2) Dr. Raymond E;.

Patterson; a psychiatrist, former Medical Director and former Acting Associate Superin&dent at
             /
St. ElizabetJ/s Hospital, former Commissioner of Mental Health in the District of Columbia, and

former Forek Director for the State of Maryland, who testified in opposition to Mr. ~

Hmckley’s onditional release at the 1997 hearing before Judge June Green, testified ij support
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of his conditional release at the 2003 hearing before this Court, and testified in opposition to Mr.

Hinckley’s increased conditional release request at the 2004 hearing. The government recalled
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Dr. Montal    o at the end of its expert’s testimony to clarify further the meaning of one of the
           “”
diagnostic tests he administered to Mr. Hinckley.
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                ,     All of the experts who testified had access to six psychological risk assessments

of Mr. Hint :+l ey conducted by Dr. Paul Montalbano in 1999,2003,2004 and, most recently, July

2005, in adIjit ion to numerous other materials including hospital records, letters between Ms.
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DeVeau’s a nney and the Hospital, and other relevant materials. Each of the govedent’s

expert witn’
               esr   res interviewed both Mr. Hinckley and Mr. Hinckley’s parents in preparap for

their testimonY.

                                    A.    Diagnosis and Areas of Concern
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                                         1. Mr. Hinckley’s Diagnosis

                      The experts for both Mr. Hinckley and the government were in substantial

agreement i          )ut Mr. Hinckley’s current diagnosis. All agree that he is currently mentally ill and



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suffers from two Axis I disorders: psychotic disorder, not otherwise specified (“psychotic

disorder NOS”) and major depression. All the experts agree that there have been no active

symptoms 04 symptoms of any significance of these Axis I disorders in a number of years. All

experts describe Mr. Hinckley’s psychotic disorder NOS and major depression as being, in full

remission.

             I All the experts also agree that Mr. Hinckley suffers from an Axis II disoider:

                        disorder. Dr. Montalbano describes Mr. Hinckley’s narcissistic’

             isorder as significantly attenuated. Dr. Patterson described it as reduced m intensity,

               Mr. Hinckley continues to have outlets for it. At this year’s hearing, Dr.‘Binks, in

               year’s testimony in which he also described this Axis II disorder as significantly

                                          opinion Mr. Hinckley’s narcissistic person&& disorder

              ission. Dr. Keisling, as he did last year’s hearing, described Mr. Hinckleb as

             o symptoms of narcissistic personality disorder since 1998. Dr. Keisling noted in

              this year that even if Mr. Hinckley does continue to have the disorder, it $one
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                             He further stated that he knew of no person who had ever been
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             committed for narcissistic personality disorder alone.

               Dr. Phillips and Dr. Patterson agreed with the Hospital’s doctors, excepj with
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             Binks’ view about the Axis II disorder. Dr. Patterson stated that Mr. Hinvkley’s
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                                             he still had some elements of it, such as    i

guardedness7 defensiveness, isolativeness, and judgment issues, particularly in interpersonal

relationship . While Dr. Patterson agreed that the Axis I disorders were in full remissi@ he
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stated that it &as “absurd” to say that Mr. Hinckley showed no symptoms of mental illness

during the 1     0’s. There are, however, no suicidal or homicidal indicators.

                 The Hospital’s doctors noted that Mr. Hinckley remains on lmg of Risperdal per

day. Accorc      tg to them, the Risperdal is purely prophylactic and is intended to prevenj a relapse

of his psych ic disorder. Dr. Patterson does not agree that the Risperdal is purely pro d!hylactic,
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testifying tb    the medication is helpful to reduce the likelihood of decompensation. Ds. Keisling

testified at t   2003 hearing that if Mr. Hinckley were to miss the medication, there wokd be no
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immediate I ?siological change, and he would probably have to miss several weeks before the

lack of med &ion would be physiologically significant. Dr. Keisling reiterated at the 4004.

hearing that ‘Mr. Hinckley did not take his medication during a four or five; day period away

from the Hc lital there would be no immediate effect.

                 At this year’s hearing, Dr. Keisling testified that the longer a person is in

remission, t     less likely it is that he will relapse. Dr. Binks similarly testified that Mr.~,

Hinckley’s
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                 ,e of illness takes a long time to develop and that there would be ample tune to

observe a re pse of his disorders.


                                            2. Leslie DeVeau

                  The primary ,focus of last year’s hearing, the relationship between Mr. qinckley

and Leslie I     Veau, was resolved to the satisfaction of all the experts in the interim. According

to Mr. Hint      ey’s treatment team, all ofthe experts who interviewed him, and the Hoq/ital’s own

records, Mr      Iinckley has had no contact with Ms. DeVeau since January l&2005. The

Hospital reI     ts that in the, aftermath of last year’s hearing, Ms. DeVeau communicated to the


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Hospital, through her attorney, that she did not wish to participate in Mr. Hmckley’s therapeutic

process or meet with his treatment team. Mr. Hinckley, believing this relationship to be the main

obstacle bet#een himself and further release privileges, decided to end the relation@

completely. /According to Dr. Binks, he and Mr. Hinckley discussed Ms. DeVeau in eiery
                                                                                   /
session bet !een last year’s hearing and January 15,2005. Mr. Hinckley reported also discussing

the matter 1‘th his parents and,with his treatment team, eventually reaching the decisidn that he

should end        1 contact with Ms. DeVeau. On January 15,2005, Ms. DeVeau came to $sit Mr.

Hinckley at       e Hospital, at which time he returned a ring to her that had symbolized deir
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affection.    te has not seen or called her since that time and she has not called him.
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                   Dr Montalbano, Dr. Binks, and Dr. Keisling all characterized Mr. Hiikley’s
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decision to nd his relationship with Ms. DeVeau as reasoned and rational. These expdrts
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d e s c r i b e d Hinckley as coping well with the end of the relationship, showing the kifd of
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appropriate adness anyone would on ending such a significant relationship, but showing no

signs of decompensation. Dr. Phillips noted that Mr. Hinckley has shown recent signs bf
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dysphoria, or sadness, probably in consequence of the breakup, but noted no change in the

diagnoses 0, his mental disorders. Dr. Patterson, in speaking with Mr. Hinckley, stated’that “it

was of cons derable note” that Mr. Hinckley believed Ms. DeVeau to be doing well w&out him
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and not inn, ed of his support, given that the pathology that led to Mr. Hinckley’s acts of
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violence in      included a delusional belief that he needed to “rescue” Jodie Foster. See
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Dr. Patterso                  All of the experts agree that the end of Mr. Hinckley’s relationship




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with Ms. DeVeau is a noteworthy occurrence, but that the effects of its termination have not had

such an imp ct on his mental health as to change his diagnoses or prevent an expansionof release
           “r
conditions.

                  It appears that the major issue of the lack of clarity from last year’s hearmg has

been resolve/l. The Court is unsure that the resolution was ideal, given that Mr. Hinckley’s 22-

year relation/hip with Ms. DeVeau was both the most significant and sustained adult re/anomhip

                  Dr. Patterson’s words “his only friend as an adult” -and a major source If

                            decision, however, was apparently made thoughtfully and wr
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                                 members and his treatment team. His ability to cope with this

                                   sufficiently healthy to answer the questions in the minds of the

government xperts, as is evidenced by their support of expanded release conditions fo[ Mr.
              1
Hinckley.


                                  3. Interactions with Other Women

              1, Smce his breakup with Ms. DeVeau, Mr. Hinckley has had interactions with three

women that   Iave been the cause of some concern to the government’s expert witnesse@nd some
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Hospital per onnel, have been the subject of discussion between Mr. Hinckley and his treatment
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team, and was a major focus of this year’s hearing. The first series of these interactiod was with
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a woman M Hinckley has known for 10 years and who brings him cat food on a regular basis.

Mr. Hinckle: reported to his treatment team that after the end of his relationship with vs.

DeVeau, thi woman expressed sympathy and asked if she could do anything for him. p replied

by asking h er if she had romantic feelings for him, and when she said that she did not, be stated


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that he agreed. He told hisdoctors he was seeking “clatitication of the relationship.” The second

interaction of concern was between Mr. Hinckley and a psychology intern at St. Elizabeths

Hospital. Akc,ordmg to the testimony and reports of the Hospital staff, Mr. Hinckley engaged the
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intern in conLersation on a daily basis, primarily about his cats. She assisted him in finding
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homes where several of his cats were adopted. According to Dr. Patterson, Mr. Hincklby seemed
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impressed if not “enthralled” with the intern and described her as “beautiful.” Mr. Hmckley was

observed w iking the intern to her car on several occasions and was instructed by the s{aff to stop

doing so. H%was not happy being so instructed, but he complied. Finally, Mr. Hinckley
                                                                                      I
requested a session with the Hospital chaplain after seeing her one day. When questioned by his

treatment team, he admitted that he had requested the session because he “thought she has

pretty.” He greed to drop the request.
            i”
            ~ The expert witnesses’ perception of these incidents differed greatly. Dr/ Binks

stated that ah three incidents were appropriate and did not demonstrate any bad judgmjnt or

behavior on Mr. Hinckley’s part. Dr. Keisling likewise bad no clinical concerns with i’$r.

Hinckley’s behavior toward these three women, seeing no manifestation of mental dis ase or
                                                                                   1
delusional o obsessive aspects to it. Dr. Montalbano interviewed the woman who bri$gs Mr.
           1
Hinckley ca food and found that she was not disturbed by the incident. He further noted that the

           I not have been known but for Mr. Hinckley bringing it to his attention, stating that
incident would
                                                                                        i,
it demon& ated how Mr. Hinckley has become more open with the treatment team over trme. Dr.

Montalbano also stated that Mr. Hinckley’s behavior toward the intern and the chaplaii were not

inappropria , although his judgment in walking the intern to her car could be ,questionbd. Dr.

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_a.-;--,                                                                                        I~

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     Montalbano nevertheless believes that Mr. Hinckley’s professed physical attraction to the intern

     and the chaplain were matters worthy of exploration by the treatment team. Drs. Binks, Keisling
                 I
     and Montalbhno all agreed that Mr. Hinckley’s behavior could be attributed in part to the end of

     his relationstip with Ms. DeVeau, his resultant loneliness and a natural desire to make Fontact

     with a woman. Dr. Montalbano said Mr. Hinckley hoped to have a girlfriend and wanted
                 /
     intimate con act with a woman.
                 i
                         ~ Dr. Phillips and Dr. Patterson were more concerned with the incidents m view of

     Mr. Hinckle ‘s history, They stated that while the incidents in isolation were not terribly
                                                                                               !
     problematic,~they had to be regarded in the context of Mr. Hinckley’s history and prior pgy
                  t
     with regard to women. In particular, Dr. Phillips cited as a serious area of concern Mr.’

     Hmckley’s d attem of behavior toward female staff members of the Hospital over the years
                                                                                               I
     (including a harmacist in the late 1990’s). Dr. Patterson felt that the situation needed to be

     monitored c1osely, and both doctors felt that the Hospital had seriously erred by failing’to explore

     these matter, fully and objectively as a matter of therapeutic interest rather than simplyl’accepting
                                                                                                I
     Mr. Hmckle I ‘s explanations; they were particularly critical of Dr. Binks’ uncritical accbptance of
                                                                                                         I

     Mr. Hinckle,5. ‘s explanations. Dr. Phillips added that while “appropriate socialization”is a goal
                                                                                               I
                   kley’s behavior ought not to be misinterpreted, it also ought not to be igned and

                         d by the treatment team. Neither Dr. Patterson nor Dr. Phillips stated thai,the

     incidents ch’ ged their diagnoses of Mr. Hinckleys’ mental disorders or their recommendations
                                                                                          !
     regarding hi[or the Hospital’s proposed expanded conditions of release.

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                               B.   Proposals for Expanded Privileges

                Every testifying expert agreed that it was appropriate to expand Mr. Hmckley’s

privileges to include time-limited conditional releases to his parents’ home outside the ~

Washington1 D.C. metropolitan area. All of the experts except Dr. Phillips agreed with the
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Hospital’s S ction 501(e) proposal, although Dr. Patterson expressed his approval of the proposal
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as subject to,certain caveats given in his report and testimony. While Dr. Philips did nit approve

                   Section 501(e) proposal because it was not a structured, logical plan, his
                                                                                           ~
concerns w                 to the lack of specificity and appropriate, well thought-out goals m it,

                concept of expanding privileges to the Hinckleys’ home itself., Only Dr. Finks and

                        that Mr. Hinckley’s Section 501(k) proposal is appropriate at this time.


                              I. Activities in His Parents’ Community

                  The government experts raised a number of concerns regarding the proposed
                                                                                           !
activities in   ie Hospital’s Section 501(e) report. In particular, both Dr. Phillips and Dr.

Patterson e: ressed,concem about the lack of specificity with regard to the recommendations

that Mr. Hi     kley use the Internet and take walks alone in his parents’ community. Both doctors,

however, ai     :ed with Mr. Hinckley’s experts that these activities in and of themselves bould be

beneficial.     re concerns they raised were that the Hospital had not provided enough dFai1 about

the geograp     c and time restrictions with respect to Mr. Hinckley’s walks without supeyision, or

with respec t tc 3 his use of the Internet and any restrictions to be placed on that use. Dr. ~Phillips

applauded tbepresumed goals of such activities, stating that in reaching the ultimate gfal of




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integrated living for any individual it was necessary to allow the patient increased freedom and

degrees of independence.

                 In response to many of these concerns, the Court directed the Hospital m an Order

issued on September 29,2005 to address the details of what therapeutic and practical goals

would be es     blished for Mr. Hinckley’s proposed visits to his parents’ home and how they

would be ac     mplished. Among other suggestions, the Hospital stated that Mr. Hinckley would

be allowed      minute walks, taking with him his parents’ cell phone, unaccompanied throughout

his parents’    ted community.


                               2.   Proposed Reporting Requirements

                 Dr. Montalbano, testifying on behalf of the Hospital, agreed that the cur/em

reporting re    irements of an itinerary submitted to the Court before each visit could be~~relaxed

over time a:    le goals of Mr. Hinckley’s visits became more general and his independen Ice

,increased. 1    Keisling agreed that the reporting requirements,could relax as time went on; as

Mr. Hincklc     s privileges, expand, fewer details will be necessary or appropriate. Dr. 71 iillips

agreed that     ile feedback would continue to be important, the frequency of reports cop dd be

decreased a     me went on.


                                 3, Proposed Role for Dr. John J. Lee

                 Dr. John J. Lee is a psychiatrist in the area of the Hinckleys’ communit     who has

metwith         Hinckley once, and separately with his parents, and has agreed to meet v thhimon
         hlrasrs should he visit his parents’ home. The government raised concerns 2
an ongoing                                                                           this
           P


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year’s h.earir$ as to whether the Hospital was suggesting that Mr. Hinckley’s treatment be

transferred doom the Hospital to Dr. Lee and how such transfer would be made when little to no

preparation 4d been done for this. The Hospital responded that Dr. Lee was envisioned at this

stage only     a safety net, not as a treating psychiatrist.
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               ; In its order of September 29,2005, the Court directed the Hospital to clarify Dr.
             I
Lee’s commitment to Mr. Hinckley and his role in any visits. In its response,,the Hospital
                                                                                            I
reiterated t&t, regardless of his future role, Dr. Lee will be first and foremost a “safety net” for

Mr. Hinckle-i and that the two would merely try “to familiarize themselves with each o{her”

during the p oposed outings. Hospital’s October 14, 2005 Filing at 4. Dr. Montalbano’believes

that Mr. Hirxkley should meet with Dr. Lee with some regularity, at least once during Fh of the

first three visits to Mr. Hinckley’s parents’ home. Dr. Phillips and Dr. Patterson believe Mr.
                                                                                        ~
                                              time he visits his parents’ home. The Hospital agreed

               kley and his parents will assure that Mr. Hinckley meets with Dr. Lee on kh
                                                                                        I
                                          Hinckley’s mood and affective range and note any signs
                                                                                        I
               sation while in Virginia.” @. It included a signed agreement between Dr.~,Lee and

                             be available and willing to meet vvith Mr. Hinckley during any outings

               ley’s parents’ community, and clarifying Dr. Lee’s role as not being that orthe
                                                                                       .~
                  psychiatrist, therapist, or case manager for Mr. Hinckley. The Court 1s satisfied




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                                         C. Future Planning

                                       1. Phase III vs. Phase IV

                 Much of the focus of this year’s hearing was on the goals and, expectations that

would come      Jith an expansion of Mr. Hinckley’s privileges from the Washington, D.C.

metropolita     trea to his parents’ home outside the area. These goals and expectations eventually

resolved the    selves into a kind of common understanding, first articulated by Drs. Phillips and

Patterson, h vhich “Phase III” is conceived of as a “change of venue” outing from the /

Washingtor      1.C. area to the Hinckleys’ community, while “Phase IV” is viewed as a ~

transitional    age in which Mr. Hmckley might be expected to take steps to integrate hiiself into

his parents’    )mmunity. While therapy and therapeutic processes are more fluid than a particular

“Phase” titl    an express or encompass, the Court finds it useful to have this practical distinction

in mind, bo     for itself and for the Hospital, in order to understand the therapeutic goals at each

stage and tc valuate Mr. Hinckley’s progress.

                 This year, in particular, the designation of particular goals associated 4th each

Phase becsu     : a point of contention, especially as it appeared that the Hospital’s Sectiob 501(e)

proposal se’    led to incorporate not just Phase III outings but also “Phase IV” type visiv, in

which Mr. 1 nckley would “be more focused on social and potential vocational reintegration in

 [his parents   community.” Rospital Section 501 (e) Proposal at 1. The government experts
             I
expressed c: nLcerns that this sort of visit and the associated expectations and activities that would
                                                                                             I
            0
come with iit itre premamre at this point. Specifically, they opined that it was too soon both to

change the ve: nue of the visits to a setting wholly unfamiliar to Mr. Hinckley and simu@neously



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    to suggest that he was ready to begin a reintegration into society and, into his parents’ community

    in particulars The Court agrees. Unsupervised visits with his parents in the metropolitan

    Washingtoni D.C. area was one thing. With over 200 “B” city visits throughout the area behind

    him, he was /on familiar turf in Phase I and Phase II, and the Hospital (his home for 22 years) was

    ~nearby. The/ contemplated Phase III visits to his parents’ home will be to an unfamiliar
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    community @d an unfamiliar house and will last for longer periods of time. Proceedin
                                                                                           ”
    cautiously, s owly and incrementally in the circumstances therefore is appropriate. At v same
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    time, the Co          recognizes that the eventual goal for Mr. Hinckley -- as agreed upon bye every
                   b

/   testifying ex ert and dependant upon his continued mental health and improvement -- 4s his      .i
                 1                                                                                   I
    reintegratio4.
                 I mto society, whether that takes place in his parents’ community or elsewhere.
I   ~                                                                                          1,
                   I     While the government’s expert witnesses found fault with the Hospital’s plan
                                                                                                 I
    .because it s+med to proceed to a transitional Phase IV stage too soon and without suf cient
                                                                                                ‘y
/   ,planning, at e same time Drs. Philips and Patterson also recognized the need to consip longer
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                                                                                                 1
     range goals m light of the desirable end goal of reintegration. In fact, Dr. Phillips stated m his

    testimony          at a protracted Phase III period could actually be more problematic if it led to
                4
    loneliness +d boredom because no further goals or activities were envisioned beyond mini-

    vacations fo Mr. HinckIey to his parents’ home. Similarly, Dr. Patterson stated in his testimony
                1
    that the initi 1 outings that Mr. Hinckley takes must eventually lead toward more directed activity
                  1
    (even suggebing that a possible goal for Mr. Hinckley at some point eventually might be going to
                                                                                                     1
    a coffee bar/or sports bar with male friends).




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             ~ The Court concludes that it is appropriate at this time to allow Mr. Hinckley only

so-called “Phase III” visits that will permit him to acclimate himself to a community beyond the

Hospital’s walls and to begin the process of relearning certain skills -- primarily domestic and

personal one/+ -- such as those suggested during the hearing like gardening, cooking, cleaning,

taking out th garbage, shopping, etc. It is not appropriate at this time for Mr. Hinckle4 to
             1
proceed w1d any further integration into his parents’ community without a full evaluation of

these Phase III outings.

                In balancing the twin goals of ensuring that Mr. Hinckley’s continued conditional

releases benefit him therapeutically while not advancing prematurely, the Court wishes~to

emphasize that simply because Mr. Hinckley’s activities may be curtailed at this time, 4 is not
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premature f r the Hospital to begin planning for “Phase IV” on the assumption that the~Phase III
             4                                                                              I
visits will b successful. Indeed, it is vital that long-term goals and practical steps be i

incorporatedI.mto Mr. Hinckley’s treatment to enable reintegration into society at some ~point.

                     not lose sight of these long-time goals or how they can be accomplished.
                                                                                       I
                  Phillips and Dr. Patterson each recommended that once the Hospital moves

              g to a transition phase it must identify a case manager in the community to which

Mr. Hmckle goes, much as the Hospital identified Dr. Lee in preparation for the propF Phase
               Y
III visits. Sirmply put, the Hospital should plan ahead.
                                                                                        I
               Furthermore, while the experts all agree, as does the Court, that Mr. and Mrs.

              responsible custodians, and there is an assumption by some at the Hospit+ that

               Hinckley will transition to his parents’ community, the Court is not so s        guine.
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As counsel for the Hospital said at the hearing, it is too soon to determine if Mr. Hinckley’s

parents or their community are appropriate in the long term. See September 27,2005 Transcript

at 16-17. q. and Mrs. Hinckley are getting older. If other members of Mr. Rinckley’s family

plan to be involved over the long-term as the Hospital moves to Phase IV, these family~members

need to meet with the treatment team at the Hospital and become more involved now in planning

for the fmur& and for any transition to a non-Hospital setting on a more regular basis.        hat may

or may not i elude involving Mr. Hinckley’s parents or his siblings in family counseli]        ;, for

example. If     Hinckley’s siblings do not anticipate future involvement in his ongoir ; care, the
            L
Hospital’s ‘ture planning must include the exploration of alternate support systems, s :h as the
          7
mental health department of any community into which Mr. Hmckley might be integrs rtc:d.

               It is not the role of the Court to dictate the course of Mr. Hinckley’s tie ment.

Rather, it is ’ e Court’s role to evaluate the treatment he receives to determine if it has teen of a
             ”
quality and ufriciency to ensure that he will remain mentally stable and not decomper 1s; ate,
            1
thereby bet ‘ming a danger to himself or others if conditionally released. Mr. Hinckle: s treating
           9
physicians and mental health professionals must decide upon and pursue the course of .eatment

                   effective in dealing with him and hi illness and in preparing him fo :ach
                                                                                          !,
              ge of conditional releases the Hospital proposes, assuming the Hospital :1ntends

            s ahead to recommend more privileges. These decisions are best left to h@.

Hinckley’s t eatment team.
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                                        2. Interactions with Women

                    As discussed above, a second major focus of this year’s hearing was Mr.

Hinckley’s         :ractions with women. These interactions necessarily are of great concern in the

Hospital’s 1    i uring for the future because Mr. Hinckley’s feelings toward women have~:been
               p!ar                                                                                     the

major triggeiin lg factor to his mental disorders. A paradox exists, however, in that the experts

agree that 1       Hinckley would benefit from healthy, normal friendships or relationship1 with

women, as       el1 as with menbut remain watchful and wary of his ongoing efforts to reach out to

women. In          e : past, a similar paradox led to an undesirable result. During the 2003 hearing,
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much was In 1dle of Mr. Hinckley’s reading habits, what he chose to read, and how it rebected on

his mental         e. As a result, Mr. Hinckley stopped writing and reading almost anything outside

of non-con         ,ersial magazines related to cats, thereby creating yet another pause for c@zem that

he had ~10,s       )ff another window into his mind and was displaying a defensiveness and

guardednes         lat was not beneficial to him or to his therapy. Like Mr. Hinckley’s treatment team

and the goT        ment experts, the Court has been troubled by Mr. Hinckley’s actions in $easing to

engage in I        surable and potentially beneficial activities which he had enjoyed in the iast

because of          scrutiny he is under. The Court’s understanding of Mr. Hinckley’s behavior and

mental hea         through the testimony of the expert witnesses, can only be complete if he is as

open, truth         and natural as possible.

                    Many issues raised regarding Mr. Hinckley’s relationships w$h women have

come from           fact that Mr. Hinckley’s efforts to reach out have thus far been toward female staff

members a          : Hospital, creating a problem of boundaries between staff and patients that should



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 not be breached, as well as legitimate concerns based on Mr. ,Hinckley’s delusional and obsessive

 behavior with respect to women in the past -- matters that must continue to be monitored. One

 would hope @at in the upcoming visits to his parents’ home, Mr. Hinckley will have the

 opportunity $o begin to develop normal, healthy, and appropriate friendships with both men and

 women that hll withstand the scrutiny necessarily given to them by the psychiatrists and
             I
 psychologist treating him.
             a

                                     III. FINDINGS OF FACT

                Based upon the,testimony and exhibits offered by the government and counsel for

petitioner, 1   Court finds that the following facts have been established by a preponderance of

 the evident

                1.     Mr. Hinckley’s current diagnosis is psychotic disorder not othe&se

                        specified (Axis I), in remission; major depression (Axis I), in remission;

                       and narcissistic personality disorder (Axis II).

                2.     Mr. Hinckley’s Axis I diagnoses have been in remission for at least eleven,

                       and perhaps as many as seventeen years.

                3.     Mr. Hinckley’s narcissistic personality disorder is significantly attenuated

                       from its previous state. Mr. Hinckley continues to exhibit sympmms of

                       grandiosity and self-importance, but no longer exhibits the intense

                       self-absorption that was present during the 1980s.




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     4.     Mr. Hinckley has exhibited no evidence of delusional thing for

            approximately sixteen years and no evidence of obsessive conduct for at

            least nine years.

     5.     Mr. Hmckley has continued to exhibit deceptive behavior even when there

            have been no symptoms of psychosis or depression. Such decepbss

            may relate to his narcissistic personality disorder.

     6.     Mr. Hinckley continues to be guarded and defensive.

     7.     Mr. Hinckley’s self-reporting underrepresents his problems and kathology

            due to a tendency to minimize problems and avoid negative aspects of

            situations to present himself in an overly positive light.

     8.     Mr. Hinckley has exhibited no violent behavior, nor attempted suicide, in

            over 20 years.

     9.     While Axis IV was not discussed at this year’s hearing, evidence in the

            past showed that Mr. Hinckley’s Axis IV diagnosis relates to his~~“current

            stressors.” In addition to his long-term mental illness (his Axis I’

            diagnoses) and his personality disorder (narcissism), they are:    ~

            involvement with the legal system, notoriety, reintegration into ~,

            society/living in the community, and the ending of his relationship with his

            significant other.

      10.   .Historically, relationships and Mr. Hinckley’s perceptions of those

            relationships, especially relationships with women, have been inextricably



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            intertwined with Mr. Hinckley’s mental illness and have been especially

            implicated when he has been most clinically dysfunctional.

      11.   Mr. Hinckley has never tried to escape from the Hospital or when on “B”

            city outings or unsupervised conditional release visits with his parents. He

            has participated successfully in over 200 Hospital-accompanied butings in

            the community without incident. During the past two years, he has

            participated successfully in all of the unsupervised overnight vis+s with
                                                                               I
            his parents (Phase lI) authorized by the Court. He has followed every
                                                                               !
            condition imposed by the Court in authorizing these visits. These visits

            have been therapeutic and beneficial.

     12.    Were Mr. Hinckley to experience a relapse of his Axis I disorde?, that

            relapse would not occur suddenly, but rather would occur gradually over a

            period of at least weeks or months. A relapse would not occur during the
                                                                           1
            course of the conditional releases proposed by the Hospital.     ~

     13.    Mr. Hinckley self-medicates with Img of Risperdal per day. There is no
                                                                              !
            indication that Mr. Hinckley has failed to take his medication in be recent

            past or during any of the authorized outings with his parents. Were Mr.

            Hinckley to cease to take his medication over the course of the cbditional

            releases proposed by the Hospital, it would have no physiological effect.

     14.    Mr. Hmckley’s parents have proved themselves to be appropriate

            custodians for Mr. Hinckley’s Phase I and Phase II outings under the



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                         conditions approved by the Court. There is no reason to believe that they

                         will not be appropriate custodians for longer, Phase III outings outside the

                         Washington, D.C. metropolitan area.

                  15.    Mr. Hinckley has ended his friendship with Leslie Deveau in order to

                         increase his chances of increased privileges and further outings. $Ie has

                         had no contact with Ms. Deveau since January 15,2005.               ~

                  16.    Mr. Hinckley’s relationship with Ms. Deveau has been the most important

                         adult relationship of his life and its loss has great significance. y.

                         Hmckley has coped with this loss appropriately, showing signs 01 sadness,

                         but no relapse of his long term mental illnesses in reaction to that loss.

                  17.    In view of the opinions of Dr. Binks, Dr. Keisling, Dr. Montalbano and

                         Dr. Phillips that Mr. Hinckley would not be a danger to himself or others

                         in the foreseeable future with an expansion of release privileges m Phase

                         III outings, the Court finds that Mr. Hinckley will not pose a danger to

                         himself or others if his conditions of release are expanded to Phase III

                         outings under the conditions set forth by the Court in the accompanying

                         order.

                  On the ultimate mixed question of law and fact, dangerousness, the Court finds

that, given I e testimony by the Hospital and government experts, Mr. Hinckley will not be a

danger to hi i s:elf or others under the Section 501(e) proposal submitted by the Hospital under

the conditic1 s of release required by the Hospital and this Court in the accompanying Order.
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                          ~ I V . DENIAL OF   MR.   HINCKLE~ S SECTION 50 1 (k) PETITION

                          Mr. Hinckley’s Section 501(k) petition proposes visits to his parents’ home

        outside the Washington, D.C. metropolitan area, the first visit being for two nights, with an

        additional night added to each visit until the last of the visits is of seven nights in duratqon, with
                     1,
         no more than three weeks between each visit. The Hospital and the testifying experts oppose the

         petition. Mr ~Hinckley’s petition for limited conditional release under Section 501(k) is denied.


                             V. RULING ON HOSPITAL’S SECTION 501(e) PROPOSAL

                            With respect to Phase III visits to his parents’ home outside the metropolitan

        ,Washmgto         .D.C. area proposed by the Hospital, the Court concludes that under the conditions
                     n,
         specified by the Hospital and required by the Court, Mr. Hinckley will not be a danger to himself

         or others. The major concerns raised by Dr. Phillips and Dr. Patterson last year concerning the

         lack of clari in the relationship between Mr. Hinckley and Ms. DeVeau and that led to the
                      T
                        of the proposed Phase III visits have been resolved. While the outcome ~of that
                                                                                               /
                        ay not be the most personally favorable one for Mr. Hinckley snd Ms. DkVeau,

                          g term romantic relationship and friendship that the two shared and that was

                               their relationship is at an end. Furthermore, Mr. Hinckley has not shown any

                          mpensation or relapse of mental illness in the face of not just the end of his

                                   but the end of all contact with Ms. DeVeau. The experts are in fgreement

                                      benefit from expanded conditional release and would not pose a danger

                          conditions were set.



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--~I.                                                                                   .~~
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.,                    The C&t therefore finds that it is not reasonably foreseeable that Mr. Hmckley
                  i,
     will be a da&r  to himself or others if Phase III visits to his parents’ home are permitted at this
                  I
     time. In kee P ing with the Hospital’s proposal and the expert testimony suggesting that

      ,progression t ward a goal will be beneficial to Mr. Hinckley, the Court will adopt the EJospital’s

     ~,,plan of three ‘nitial visits, each of three nights in duration (76 hours for each visit), aftei which

      the Hospital I ‘11 conduct an assessment of the success of these overall visits (in additiop to the

      individual asr
                   essments), including an assessment of how Mr. Hinckley interacts with hip parents
                    B
      in this new s,,tting and whether he “achieves a reasonable level of family connectednes$ or

      bonding, su art, and harmony with them in their home.” Hospital’s October 14,2005~Filing at
                 4
                     commendation of Mr. Hinckley’s treatment team and the approval of the FOspital

                    d, there then may be an additional four visits of up to four nights in duratidn (I 00



                      The Court, however, does not adopt the Hospital’s proposed activities 9th regard

                     set of visits (should the first three visits be completed succ~ss~ly and thf next

                         The Hospital proposes various activities that Mr. Hinckley might be $xpected

                          vision of the four-night duration visits -- activities such as obtaini@ driver’s

                         job, or otherwise obtaining vocational assistance in his parents’ com@mity.



                      The Hospital’s Section 501(e) proposal specifically mentions that the tp-day
                                     Fridays at 9:00 a.m to Mondays at 1:OO p.m.” and the fop-day
                                      a.m. to Mondays at 1:00 p.m.” Hospital,Section SOl(e)lProposal
                                      put such rigid strictures of particular days of the week 9 times of
                                                           The timing of the visits - days of thy week,
                                              of the Hospital in planning, so long as they comply with


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These a&ivi~es,~&owever, are notproper Phase III activities but activities that might possibIy be

 ,appropriate 1~ ter, during a Phase IV. The Court agrees with the government experts that such
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 ,activities shobd be considered “transitional” in nature (so-called Phase IV) and that they

therefore are remature at this time.

              ~ As the Court noted above, there is much planning and forethought required before
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                ay legitimately put forth a true Phase IV transitional proposal. When that happens

                     As the Hospital’s counsel stated at the hearing, the visits now proposed “are

                             plan because it is too soon to know whether or not . [Mr. ~

                ents’] home is appropriate for him reasonably or even therapeutically. There’s no

                                       can make that determination at this point.” See September

               script at 17.7 For these reasons, the Court finds that this portion of the Hospital’s

               emature and does not approve it. On the other hand, the therapeutically dkd

                                       by the experts in the hearing that will assist Mr. Hinckley in



         7      The Hospital and the D.C. Attorney General’s Office seem,to be somewhat at
                                   their presumed representation of the same position, as can be seen
                   October 14,2005 supplemental filing with the Court in response to iti’
              9,2005 Order. In that filing, the Hospital states that it “does not perceive a
               tween what has been called a transitional approach or change of venue or~outing
                    the proposed’expansion of Mr. Hinckley’s conditional release. as a gradual
                          the time frame of the outings while also changing the venue . .~ [and]
                                  a potential transition to a new community and a potential transition
               ent leave.” Hospital’s October 14,2005 Filing at 2. As discussed herein,ithe Court
                                          General and Drs. Phillips and Patterson that it is useful to
                t there is a difference and to plan differently for each phase. It agrees qth the
                                           no actual long-term conflict in the process and pl;anning
                                          outside world some day, so long as it is understood that the
                ge of venue or outing approach (Phase III) precedes a transitional (Phase IV) phase
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acclimating l/h&elf to the world outside the Hospital during these outings ,-- such as walking

around his p ents’ neighborhood, gardening, shopping or cooking -- are expressly approved as
            “i’
proper goals f these “Phase III” outings.
             fJ
             , An Order consistent with this Opinion will issue this same day.

             ~ SO ORDERED.



                                      Id
                                      PAUL L. FRIEDMAN
                                      United States District Judge
DATE: December 30,2005


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